
PER CURIAM:
Upon written stipulation to the effect that damages to claimant’s 1978 Mack truck in the amount of $1,191.35 were caused when the roadway surface of Interstate 79 near Jane Lew, West Virginia, collapsed as the truck crossed over an area under which a tunnel existed; and to the effect that this occurred because of the negligence of the respondent in failing to properly maintain said highway, proximately causing the *27damages sustained, the Court finds the respondent liable, and awards the claimant the amount agreed upon by the parties.
Award of $191.35 to United States Fidelity &amp; Guaranty Company.
Award of $1,000.00 to H &amp; A Coal &amp; Hauling, Inc.
